Case 2:08-cv-06090-FMC-AGR Document 29-12 Filed 07/22/09 Page 1of1 Page ID #:217

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April 9, 2008

VIA FACSIMILE (949-716-0606) & U.S. MAIL
Ms. Kari M. Myron

Law Office of Kari M. Myron

22972 Mill Creek Drive

Laguna Hills, CA 92653

Re: Steven Benhayon

Dear Ms. Myron:

This correspondence is sent in response to your letter dated February 6, 2008,
requesting Reconsideration of Denial of Accelerated Vesting and Distribution by the
RBC WAP committee.

On April 8, 2008, the RBC U.S. Wealth Accumulation Plan committee, pursuant
to Section 7.4 of the WAP Plan met and reviewed Mr. Benhayon’s appeal in support of
his initial request for accelerated vesting of the unvested portion of the employer
contributions to his WAP account that had been forfeited, pursuant to Section 4.4 of the
Plan, at the time of his termination. After completing its review of his appeal and
supporting documentation provided by you, the Committee again chose not to approve
Mr. Benhayon’s request.

 

Cc: Ms. Gabriela Sikich —

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